    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 1 of 13 PageID #: 1



                     ,17+(81,7('67$7(6',675,&7&2857
                 )257+(1257+(51',675,&72):(679,5*,1,$
                                                                                        ELECTRONICALLY
'LDQD0H\                                                                                   FILED
                                                                                            Apr 30 2018
      3ODLQWLII                                                                   U.S. DISTRICT COURT
                                                                                      Northern District of WV
9V
                                                                      &DVH1R5:18-CV-59 (Bailey)

7RXUV&RQVXOWLQJ//&
DND<RXU7RXU7UDYHO&RQVXOWDQW
DND\RXUWRXUFRQVXOWDQWFRP
DND$=$EOH0DUNHWLQJ,QF
/LVD)HUUDULDQG
'DQGUHD+DUULV
       'HIHQGDQWV

                                          &203/$,17

      1RZFRPHVWKH3ODLQWLII'LDQD0H\E\DQGWKURXJKKHUDWWRUQH\%HQMDPLQ6KHULGDQRI

WKHODZILUPRI.OHLQDQG6KHULGDQ/&DQGKHUHE\VWDWHVDVIROORZV

                               -85,6',&7,21$1'3$57,(6
                                                  
     7KH3ODLQWLII'LDQD0H\LVDUHVLGHQWRI2KLR&RXQW\:HVW9LUJLQLD

     -XULVGLFWLRQRIWKLV&RXUWDULVHVSXUVXDQWWR86&HW6HT

     7KLVDFWLRQDULVHVRXWRI'HIHQGDQWV¶YLRODWLRQRIWKH7HOHSKRQH&RQVXPHU3URWHFWLRQ$FW

        ³7&3$´  YLRODWLRQV RI RUGHUV UXOHV DQG UHJXODWLRQV SURPXOJDWHG WKH )HGHUDO

       &RPPXQLFDWLRQV &RPPLVVLRQ )&&  UHODWLQJ WR WKH 7&3$ WKH 1DWLRQDO 'R 1RW &DOO

       UHJLVWU\DQGE\LWVLQYDVLRQRI3ODLQWLII¶VSULYDF\E\FDOOLQJYLDDQDXWRPDWHGGLDOHUV\VWHP

     7KH3ODLQWLIILVDSHUVRQZKRIDOOVXQGHUWKHSURWHFWLRQRI$UWLFOHRIWKH:HVW9LUJLQLD

       &RQVXPHU&UHGLWDQG3URWHFWLRQ$FW KHUHLQ³:9&&3$´ DQGLVHQWLWOHGWRWKHUHPHGLHV

       VHWIRUWKLQ$UWLFOHRIWKH:9&&3$

     7KH'HIHQGDQW7RXUV&RQVXOWLQJ//&DND<RXU7RXU7UDYHO&RQVXOWDQWDND

       \RXUWRXUFRQVXOWDQWFRPDND$=$EOH0DUNHWLQJ,QF ³7RXUV&RQVXOWLQJ´ LVD

                                                  

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 2 of 13 PageID #: 2



        FRUSRUDWLRQKDYLQJLWVSULQFLSDORIILFHVLQDVWDWHRWKHUWKDQ:HVW9LUJLQLDDQGZKLFKGRHV

        EXVLQHVVLQ:HVW9LUJLQLD

     'HIHQGDQWLVDWHOHPDUNHWHUDVGHILQHGE\:HVW9LUJLQLD&RGH$)

     7RXUV&RQVXOWLQJ//&ZDVDGPLQLVWUDWLYHO\GLVVROYHGLQ6HSWHPEHURIIRUIDLOXUH

        WRILOHDQDQQXDOUHSRUW

     /LVD)HUUDULLQKHULQGLYLGXDOFDSDFLW\DQGDVPDQDJHUDQGRZQHURIWKHQRZGHIXQFW

        7RXUV&RQVXOWLQJ//&

     'DQGUHD+DUULVLQKHULQGLYLGXDOFDSDFLW\DQGDVPDQDJHUDQGRZQHURIWKHQRZGHIXQFW

        7RXUV&RQVXOWLQJ//&

    9HQXH LV SURSHU LQ WKLV &RXUW EHFDXVH WKH DFWV DQG WUDQVDFWLRQV RFFXUUHG KHUH 3ODLQWLII

        UHVLGHVKHUHDQG'HIHQGDQWVWUDQVDFWEXVLQHVVKHUH

                                       )$&78$/$//(*$7,216

    3ODLQWLIIKDVDWHOHSKRQHQXPEHUWKDWLVDVVLJQHGWRDFHOOXODUWHOHSKRQHVHUYLFH

    0V0H\¶VWHOHSKRQHQXPEHULVRQWKHQDWLRQDO³'R1RW&DOO´UHJLVWU\

    2QRUDERXW0D\DWDSSUR[LPDWHO\$00V0H\UHFHLYHGDFDOOIURPD

        SKRQHQXPEHUDVVRFLDWHGZLWKWKH'HIHQGDQWV

    8SRQLQIRUPDWLRQDQGEHOLHIWKHSKRQHFDOOZDVJHQHUDWHGXVLQJDQDXWRPDWHGUDQGRP

        WHOHSKRQHGLDOLQJV\VWHPRU$7'6

    7KHFDOOHUDVNHGIRU'LDQD0V0H\DVNHGZKRZDVFDOOLQJDQGWKHVSHDNHULGHQWLILHG

        KLPVHOIDV³+RZDUG´IURPWKH³<RXU7RXU&RQVXOWDQW7UDYHO&DUH'HSDUWPHQW´

    8SRQLQIRUPDWLRQDQGEHOLHI+RZDUGVDLGKHZDVIROORZLQJXSRQDWUDYHOSDFNDJH0V

        0H\KDGVWDUWHGEXWQRWILQLVKHG

    0V0H\KDVQHYHUKDGDQ\FRQWDFWZLWK7RXUV&RQVXOWLQJRUJLYHQWKH'HIHQGDQW



                                                     

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 3 of 13 PageID #: 3



       DXWKRUL]DWLRQWRFDOOKHU

    8SRQLQIRUPDWLRQDQGEHOLHI+RZDUGZLWK7RXUV&RQVXOWLQJZDVVHOOLQJYDFDWLRQ

       SDFNDJHV

    3ODLQWLIIUHTXHVWHGDQXPEHUWRFDOOEDFNDQG+RZDUGVDLGKHZDVFDOOLQJIURPD

       FRPSXWHUJHQHUDWHGFDOODQGZRXOGVLPSO\SODFHKHUQXPEHUEDFNLQWRWKHFRPSXWHUWREH

       FDOOHGODWHU

    0V0H\FDOOHGWKHQXPEHUWKDWKDGVKRZQRQKHUFDOOHU,'ZKHQ

       'HIHQGDQWFDOOHGEXWWKHQXPEHUZDVRXWRIVHUYLFH

    3ODLQWLIIPDLOHGDOHWWHUWR7RXUV&RQVXOWLQJUHTXHVWLQJSURRIWKDWVKHKDGFRQVHQWHGWR

       EHLQJFRQWDFWHGE\WKHP1RHYLGHQFHZDVHYHUSUHVHQWHG

    3ODLQWLIIUHFHLYHGDYRLFHPDLOPHVVDJHIURPD³.DW´DW³&XVWRPHU6XSSRUW´UHTXHVWLQJD

       FDOOEDFN

    3ODLQWLIIFDOOHGWKHQXPEHUOHIWLQWKHYRLFHPDLOPHVVDJH.DWSODFHGKHURQKROGIRU

       VHYHUDOPLQXWHVDQGWKHQWROG0V0H\KHUVXSHUYLVRUKDGWROGKHUWKDW0V0H\KDGEHHQ

       DFFLGHQWDOO\FRQWDFWHGEHFDXVHKHUWHOHSKRQHQXPEHUZDVRQHGLJLWRIIIURPWKHLQWHQGHG

       FXVWRPHU

    .DWDOVRVDLGWKHLVVXHZDVUHVROYHGDQG3ODLQWLIIZRXOGQRWEHFRQWDFWHGDJDLQ

    3ODLQWLIIH[SODLQHGWKDW+RZDUGKDGDVNHGIRUKHUE\QDPH

    3ODLQWLIIDVNHGIRUWKHQDPHRI.DW¶VVXSHUYLVRUDQGZDVWROGLWZDV/LVD)HUUDUL

    3ODLQWLIIVHQWDGHPDQGIRUGDPDJHVWR'HIHQGDQWYLDHPDLO

    2Q6HSWHPEHU/LVD)HUUDULHPDLOHG3ODLQWLIIWRVD\KHUQXPEHUKDGEHHQSODFHG

       RQ7RXUV&RQVXOWLQJ¶VGRQRWFDOOOLVWDQGWKUHDWHQHG0V0H\ZLWKOHJDODFWLRQLIVKH

       SXUVXHGWKHPDWWHUIXUWKHU



                                                 

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 4 of 13 PageID #: 4



    8SRQLQIRUPDWLRQDQGEHOLHI7RXUV&RQVXOWLQJNQHZRUUHDVRQDEO\VKRXOGKDYHNQRZQ

        WKDWLWVDJHQWVZHUHSODFLQJDXWRPDWHGFDOOVDQGFDOOLQJLQGLYLGXDOVRQWKH'1&UHJLVWU\

        RQLWVEHKDOI

    $WQRWLPHGLG3ODLQWLIISURYLGHSULRUH[SUHVVSHUPLVVLRQIRUDQ\RQHWRFDOOKHUZLUHOHVV

        QXPEHUXVLQJHTXLSPHQWWKDWKDVWKHFDSDFLW\WRVWRUHRUSURGXFHUDQGRPRUVHTXHQWLDO

        WHOHSKRQHQXPEHUVDQGRUZLWKWKHXVHRIDSUHGLFWLYHGLDOHU

    'HIHQGDQW GRHV QRW KDYH DQG KDV QHYHU KDG DQ HVWDEOLVKHG EXVLQHVV UHODWLRQVKLS ZLWK

        3ODLQWLII

    3ODLQWLIIUHTXHVWHGWKDW'HIHQGDQWSURYLGHHYLGHQFHWKDWVKHKDGJLYHQZULWWHQFRQVHQWIRU

        7RXUV&RQVXOWLQJWRFRQWDFWKHU

    'HVSLWHWKLVGHPDQG'HIHQGDQWIDLOHGWRVHQGDQ\HYLGHQFHRIWKLVFRQVHQWWR3ODLQWLII

    7KH'HIHQGDQW7RXUV&RQVXOWLQJ//&LVQRZGHIXQFW

    8SRQ LQIRUPDWLRQ DQG EHOLHI 7RXUV &RQVXOWLQJ //& ZDV VHWXS LQ D ZD\ WKDW ZDV

        XQGHUFDSLWDOL]HGDQGXQGHUIXQGHGVXFKWKDWLWPDNHVVHQVHWRSLHUFHWKHFRUSRUDWHYHLODQG

        SDVVUHVSRQGHDWVXSHULRUOLDELOLW\XSWRWKHRZQHUVRIWKHIRUPHUFRPSDQ\/LVD)HUUDUL

        DQG'DQGUHD+DUULV

                                                 &2817,

           9,2/$7,2162)7+(7(/(3+21(&21680(53527(&7,21$&7
                              86& E  % 
                                         

    3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

        KHUHLQ




                                                   

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 5 of 13 PageID #: 5



    2QLQIRUPDWLRQDQGEHOLHI'HIHQGDQWXVHGDQDXWRPDWLFWHOHSKRQHGLDOLQJV\VWHPDV

        GHILQHGE\86& D  ZKHQLWFDOOHG3ODLQWLII¶VQXPEHUDVVLJQHGWRDFHOOXODU

        WHOHSKRQHLQWKHODVWIRXU\HDUV

    2QLQIRUPDWLRQDQGEHOLHI'HIHQGDQWGLGQRWKDYH3ODLQWLII¶VSULRUH[SUHVVSHUPLVVLRQ

        SULRUWRFRQWDFW3ODLQWLIIDWKHUZLUHOHVVQXPEHUXVLQJDQDXWRPDWLFWHOHSKRQHGLDOLQJ

        V\VWHP

    'HIHQGDQWPDGHWKHFDOOWR3ODLQWLIIZLOOIXOO\

    'HIHQGDQWPDGHWKHFDOOWR3ODLQWLIINQRZLQJO\

    'HIHQGDQW¶VDFWVLQPDNLQJWKHFDOOWR3ODLQWLIIZHUHQRWDFFLGHQWDO

    3ODLQWLIIµVSULYDF\KDVEHHQLQYDGHGDVDUHVXOWRI'HIHQGDQW¶VDFWV

    $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

        KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

        GLVWUHVV

    

                                               &2817,,

         9,2/$7,2162)7+(7(/(3+21(&21680(53527(&7,21$&7
                                           86& F  
                                                       
    3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

        KHUHLQ

    'HIHQGDQWPDGHWHOHSKRQHVROLFLWDWLRQFDOOVWR3ODLQWLII

    3ODLQWLIILQIRUPHG'HIHQGDQW3ODLQWLIILVRQWKH'R1RW&DOO5HJLVWU\

    8SRQLQIRUPDWLRQDQGEHOLHIWKH'HIHQGDQWVNQHZRUUHDVRQDEO\VKRXOGKDYHNQRZQWKDW

        WKH3ODLQWLIIZDVRQWKHQDWLRQDO³'R1RW&DOO/LVW´




                                                  

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 6 of 13 PageID #: 6



    'HIHQGDQWPDGHWKHVHWHOHSKRQHVROLFLWDWLRQVGHVSLWH3ODLQWLII¶VQXPEHUKDYLQJEHHQ

        UHJLVWHUHGRQWKHQDWLRQDO³'R1RW&DOO/LVW´

    3ODLQWLIIUHTXHVWHGSURRI3ODLQWLIIKDGFRQVHQWHGWREHLQJFRQWDFWHGE\'HIHQGDQW

    'HIHQGDQWIDLOHGWRSURYLGHHYLGHQFHRIFRQVHQWDVUHTXHVWHGE\3ODLQWLII

    2QLQIRUPDWLRQDQGEHOLHI'HIHQGDQWIDLOVWRSURSHUO\PDLQWDLQRUWUDLQLWVSHUVRQQHOKRZ

        WRFRPSO\ZLWKWKH7&3$DQGWKH)&&UXOHVDQGUHJXODWLRQV

    $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

        KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

        GLVWUHVV

    

                                               &2817,,,

         9,2/$7,2162)7+(7(/(3+21(&21680(53527(&7,21$&7
                                           86& H  
                                                       
    3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

        KHUHLQ

    'HIHQGDQWPDGHWHOHSKRQHVROLFLWDWLRQFDOOVWR3ODLQWLII

    'HIHQGDQWNQRZLQJO\XVHGVRIWZDUHHTXLSPHQWRUDQRWKHUVHUYLFHWR³VSRRI´RUKLGHLWV

        UHDOWHOHSKRQHQXPEHUDQGFDXVHDQLQDFFXUDWHWHOHSKRQHQXPEHUZKLFKDSSHDUHGWREH

        RULJLQDWLQJIURPDQXPEHUORFDOWRWKH3ODLQWLIIWRDSSHDURQ3ODLQWLII¶VFDOOHU,'

    'HIHQGDQWNQRZLQJO\KLGLWVUHDOWHOHSKRQHQXPEHUZLWKWKHLQWHQWWRGHIUDXGFDXVH

        KDUPRUZURQJIXOO\REWDLQDQ\WKLQJRIYDOXH

    $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

        KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

        GLVWUHVV

                                                  

     Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 7 of 13 PageID #: 7



      

                                                 &2817,9

    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                     $&7:9&$)  
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWHQJDJHGLQGHFHSWLYHFRQGXFWWRFUHDWHFRQIXVLRQDQGPLVXQGHUVWDQGLQJE\

          GLVJXLVLQJLWVWHOHSKRQHQXPEHUDVDORFDOQXPEHULQVLQXDWLQJLWKDGDSULRUEXVLQHVV

          UHODWLRQVKLSRURWKHUFRQWDFWZLWK3ODLQWLIIZKHQLWGLGQRWDQGIDLOLQJWRSURYLGH3ODLQWLII

          ZLWKDZRUNLQJWHOHSKRQHQXPEHURURWKHUEXVLQHVVFRQWDFWLQIRUPDWLRQXSRQ3ODLQWLII V

          UHTXHVW

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV

      

                                                  &28179

    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                     $&7:9&$)  
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWHQJDJHGLQXQIDLURUGHFHSWLYHDFWVRUSUDFWLFHVLQFRQWDFWLQJ3ODLQWLIIDQG

          LQVLQXDWLQJWKHUHZDVDQH[LVWLQJEXVLQHVVUHODWLRQVKLSEHWZHHQWKHP

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV



                                                    

     Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 8 of 13 PageID #: 8



      

                                                 &28179,

    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                     $&7:9&$)  
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWHQJDJHG3ODLQWLIIUHSHDWHGO\RUFRQWLQXRXVO\LQDQDQQR\LQJDEXVLYHRU

          KDUDVVLQJPDQQHU

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV

      

                                                &28179,,

    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                     $&7:9&$)  
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWLQLWLDWHGDQRXWERXQGFDOOZLWK3ODLQWLIIGHVSLWH3ODLQWLIIKDYLQJHQWHUHGKHU

          QXPEHURQWKH'R1RW&DOOUHJLVWU\SULRUWRWKLVFRQWDFWDQGKDGUHDVRQDEOH

          H[SHFWDWLRQVWRQRWEHFDOOHGE\RURQEHKDOIRIDWHOHPDUNHWHU

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV

      

                                                &28179,,,



                                                   

     Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 9 of 13 PageID #: 9



    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                     $&7:9&$)  
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWFDOOHG3ODLQWLIIZLWKRXWSHUPLVVLRQDQGUHIXVHGWRJLYH3ODLQWLIISURSHUFRQWDFW

          LQIRUPDWLRQXSRQUHTXHVW

      'HIHQGDQW VUHSUHVHQWDWLYHVHQWDWKUHDWHQLQJHPDLOWR3ODLQWLIILQUHVSRQVHWR3ODLQWLII V

          MXVWLILHGUHTXHVWVDQGGHPDQGVIRULQIRUPDWLRQDQGUHOLHI

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV

      

                                                 &2817,;

    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21
                                       $&7:9&$
      3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

          KHUHLQ

      'HIHQGDQWNQRZLQJO\DQGPDOLFLRXVO\GLVJXLVHGWKHEXVLQHVV VWUXHWHOHSKRQHQXPEHUDQG

          LQVLQXDWHGDSUHYLRXVEXVLQHVVUHODWLRQVKLSZLWK3ODLQWLIIZLWKLQWHQWWRGHFHLYHLQWKH

          FRQGXFWRIWUDGHRUFRPPHUFH

      $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

          KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

          GLVWUHVV

      

                                                  &2817;



                                                    

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 10 of 13 PageID #: 10



    9,2/$7,2162)7+(:(679,5*,1,$&21680(5&5(',7$1'3527(&7,21

                                      $&7:9&&D

     3ODLQWLIILQFRUSRUDWHVE\UHIHUHQFHDOOSDUDJUDSKVRIWKLV&RPSODLQWDVWKRXJKIXOO\VWDWHG

         KHUHLQ

     'HIHQGDQWSODFHGDQXQVROLFLWHGFDOOWR3ODLQWLIIGHVSLWH3ODLQWLII VWHOHSKRQHQXPEHU

         EHLQJRQWKH'R1RW&DOOUHJLVWU\ZLWKLQWHQWWRKDUDVVRUDEXVH3ODLQWLIILQWRSD\LQJ

         IRUDSURGXFWWKH\KDGQRWH[SUHVVHGLQWHUHVWLQSXUFKDVLQJ

     $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

         KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

         GLVWUHVV

     

                                                &2817;,

                                         INJUNCTIVE RELIEF

     7KH3ODLQWLIILQFRUSRUDWHVWKHSUHYLRXVSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

     3ODLQWLIIUHTXHVWVWKDWWKLV&RXUWJUDQWLWLQMXQFWLYHUHOLHISUHYHQWLQJ'HIHQGDQWVWKHLU

         DJHQWVHPSOR\HHVUHSUHVHQWDWLYHVRUWKHLUVXFFHVVRUVDQGDVVLJQVIURPWDNLQJDQ\DFWLRQ

         FRQWUDU\WRRULQYLRODWLRQRIDQ\SDUWRIWKH7&3$86&SXUVXDQWWR86&

          E  $ 

                                                         

                                                &2817;,,

                                     COMMON LAW NEGLIGENCE

     7KH3ODLQWLIILQFRUSRUDWHVWKHSUHYLRXVSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ




                                                   

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 11 of 13 PageID #: 11



     'HIHQGDQWQHJOLJHQWO\IDLOHGWRWUDLQVXSHUYLVHPRQLWRURURWKHUZLVHFRQWUROLWVHPSOR\HHV

        WRHQVXUHWKDWLWVHPSOR\HHVGLGQRWYLRODWHWKH7&3$DVDOOHJHGLQ&RXQWV,DQG,,

     $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQV3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

        KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

        GLVWUHVV

                                               &2817;,,,

                                COMMON LAW INVASION OF PRIVACY

     7KH3ODLQWLIILQFRUSRUDWHVWKHSUHYLRXVSDUDJUDSKVDVLIIXOO\VHWIRUWKKHUHLQ

     7KH3ODLQWLIIKDGDQGKDVDQH[SHFWDWLRQRISULYDF\WREHIUHHIURPKDUDVVLQJDQG

        DQQR\LQJWHOHSKRQHFDOOV

     7KHDFWVRIWKH'HIHQGDQWLQSODFLQJWHOHSKRQHFDOOVWR3ODLQWLII¶VSHUVRQDOWHOHSKRQH

        QXPEHULQYDGHGGDPDJHGDQGKDUPHG3ODLQWLII¶VULJKWRISULYDF\

     $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQVWKH3ODLQWLIIVXIIHUHGHPRWLRQDOGLVWUHVV

     $VDUHVXOWRIWKH'HIHQGDQW¶VDFWLRQWKH3ODLQWLIIKDVEHHQDQQR\HGLQFRQYHQLHQFHG

        KDUDVVHGERWKHUHGXSVHWDQJHUHGKDUDQJXHGDQGRWKHUZLVHZDVFDXVHGLQGLJQDWLRQDQG

        GLVWUHVV



                                        '(0$1')255(/,()

       3ODLQWLIIGHPDQGVIURPWKH'HIHQGDQW

     D GDPDJHVSXUVXDQWWR86& E  % IRUHDFKDQGHYHU\FDOOLQWKHDPRXQWRIDW

        OHDVWIRUHDFKVXFKDFWWKDWWKLV&RXUWILQGVZHUHQRWPDGHZLOOIXOO\RUQRWPDGH

        NQRZLQJO\

     E GDPDJHVSXUVXDQWWR86& E  % IRUHDFKDQGHYHU\FDOOLQWKHDPRXQWRI



                                                  

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 12 of 13 PageID #: 12



        IRUHDFKVXFKDFWWKDWWKLV&RXUWILQGVZHUHPDGHZLOOIXOO\RUZHUHPDGH

        NQRZLQJO\DQG

     F GDPDJHVSXUVXDQWWR86& F  IRUHDFKDQGHYHU\IDLOXUHWRDELGHE\WKH

        7&3$DQG)&& VGRQRWFDOOOLVWUHTXLUHPHQWVLQWKHDPRXQWRIDWOHDVWIRUHDFK

        VXFKDFWWKDWWKLV&RXUWILQGVZHUHQRWPDGHZLOOIXOO\RUQRWPDGHNQRZLQJO\

     G GDPDJHVSXUVXDQWWR86& F  IRUHDFKDQGHYHU\IDLOXUHWRDELGHE\WKHGR

        QRWFDOOOLVWUHTXLUHPHQWVLQWKHDPRXQWRIIRUHDFKVXFKDFWWKDWWKLV&RXUWILQGV

        ZHUHPDGHZLOOIXOO\RUZHUHPDGHNQRZLQJO\DQG

     H DQRUGHUJUDQWLQJ3ODLQWLIILQMXQFWLYHUHOLHISUHYHQWLQJ'HIHQGDQWVWKHLUDJHQWV

        HPSOR\HHVUHSUHVHQWDWLYHVRUWKHLUVXFFHVVRUVDQGDVVLJQVIURPWDNLQJDQ\DFWLRQ

        FRQWUDU\WRRULQYLRODWLRQRIDQ\SDUWRIWKH7&3$86&SXUVXDQWWR86&

         E  $ 

     I SHUYLRODWLRQRIWKH7HOHSKRQH&RQVXPHU3URWHFWLRQ$FWDVSURYLGHGIRULQLQ

        86&6 E  % 

     J SHUYLRODWLRQRIWKH7HOHSKRQH&RQVXPHU3URWHFWLRQ$FWWRWKHH[WHQWWKH

        YLRODWLRQVZHUHZLOOIXO86&6 E  & 

     K 7KH3ODLQWLIIVEHJUDQWHGJHQHUDOGDPDJHVDQGSXQLWLYHGDPDJHVIRU'HIHQGDQW¶VFRQGXFW

        DOOHJHGLQ&RXQW9

     L 6XFKRWKHUUHOLHIDVWKH&RXUWVKDOOGHHPMXVWDQGSURSHUXQGHUWKHDWWHQGDQW

        FLUFXPVWDQFHV

          
     3/$,17,))'(0$1'6$-85<75,$/21$//,668(66275,$%/(

                                                            ',$1$0(<
                                                      %<&2816(/


                                                  

    Case 5:18-cv-00059-JPB Document 1 Filed 04/30/18 Page 13 of 13 PageID #: 13





%<    V%HQMDPLQ06KHULGDQBBBBBBB
        %HQMDPLQ06KHULGDQ  
        Counsel for Plaintiff 
        .OHLQ 6KHULGDQ/&
        7HD\V9DOOH\5RDG
        +XUULFDQH:9
          
       )D[  




                                          

